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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF FLORIDA
                                 PENSACOLA DIVISION


UNITED STATES OF AMERICA

vs.                                                         Case No: 3:03cr140/RV
                                                                  3:05cv146//RV/MD

MITCHELL JACKSON SEALE, III


                                REPORT AND RECOMMENDATION

        This matter is before the court upon a motion to vacate, set aside, or correct
sentence pursuant to 28 U.S.C. §2255 (doc. 403). On his motion, defendant indicates that
he was convicted in this court on April 23, 2004 of conspiracy to possess with intent to
distribute cocaine and that his appeal is still pending.            While a direct appeal is pending, this
court lacks jurisdiction to consider and rule on the defendant’s § 2255 motion. United
States v. Dunham, 240 F.3d 1328, 1329 (11th Cir. 2001). Therefore, his motion must be
dismissed without prejudice to his right to refile after the disposition of his direct appeal.
Id. at 1330; United States v. Khoury, 901 F.2d 975, 976 (11th Cir. 1990). This right to refile,
of course, is subject to time limitations and the ordinary procedural or jurisdictional
requirements that apply to such motions.1




        1
          It appears that defendant may have filed the instant motion out of concern that his § 2255 motion
not be time-ba rred. Howeve r, pursuant to § 2255, th e one year lim itatio n period does not begin to run until
the defendant’s judgment of conviction becomes final, and due to the pendency of his appeal, his conviction
has not yet beco m e final.
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        Based on the foregoing, it is respectfully RECOMMENDED:
        The motion to vacate, set aside, or correct sentence (doc. 403) be summarily
DISMISSED without prejudice due to the pendency of defendant’s direct appeal.


        At Pensacola, Florida, this 26th of April, 2005.




                                                 /s/   Miles Davis
                                                 MILES DAVIS
                                                 UNITED STATES MAGISTRATE JUDGE



                                         NOTICE TO THE PARTIES

Any objections to these proposed findings and recommendations must be filed within ten
days after being served a copy thereof. A copy of objections shall be served upon the
magistrate judge and all other parties. Failure to object may limit the scope of appellate
review of factual findings. See 28 U.S.C. § 636; Local Rule 27(B); United States v. Roberts,
858 F.2d 698, 701 (11th Cir. 1988).




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